Case 1:22-cr-00069-TFH Document 17 Filed 08/02/22 Page 1 of 6
Case 1:22-cr-00069-TFH Document 17 Filed 08/02/22 Page 2 of 6
Case 1:22-cr-00069-TFH Document 17 Filed 08/02/22 Page 3 of 6
Case 1:22-cr-00069-TFH Document 17 Filed 08/02/22 Page 4 of 6
             Case 1:22-cr-00069-TFH Document 17 Filed 08/02/22 Page 5 of 6




       20.      On January 13, 2021, Schaefer sent a text in which he stated that he had deleted

Twitter.He also sent a series of texts in which he stated, "They stole the election. It's all so fucked

up ...I'm just sickened ... Treason and utter betrayal ... After all the destruction for the last year

and billons in damage and 25-30 deaths, they're calling a few impassioned people who took selfies

an insurrection? Gimme a break."

       21.      Schaefer deleted the photographs and videos that he recorded on January 6, 2021

from his cellular telephone.

                                      Elements ofthe Offense

       22.      Schaefer knowingly and voluntarily admits to all the elements of 40 U.S.C. '

5104(e)(2)(G). Specifically, Schaefer admits that he willfully and knowingly entered the U.S.

Capitol Building knowing that that he/she did not have permission to do so. Defendant further

admits that while inside the Capitol, defendant willfully and knowingly paraded, demonstrated, or

picketed.


                                               Respectfully submitted,

                                                       MATTHEW M. GRAVES
                                                       United States Attorney
                                                       D.C. Bar No.481052

                                               By:
                                                       ANITA EVE
                                                       Assistant United States Attorney
                                                       PA Bar No. 45519




                                             Page S of 6
Case 1:22-cr-00069-TFH Document 17 Filed 08/02/22 Page 6 of 6
